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       MEMORANDUM OF REVIVED
           JUDGMENT


                                                     Reserved for Recorder's stamp


                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

FIFTH THIRD BANK, by its assignee    )
SMS FINANCIAL RECOVERY SERVICES, LLC )
                                     )
            Plaintiff,               )
                                     )
v.                                   ) Case No. 11-CV-5094
                                     )
MATTHEW H. SULLIVAN and              ) Judge Robert W. Gettleman
BRIAN J. SULLIVAN                    )
                                     ) Magistrate Judge Kim
            Defendant.               )

        On September 22, 2011, a judgment was entered in favor FIFTH THIRD BANK against
the Defendant MATTHEW H. SULLIVAN and BRIAN J. SULLIVAN. The Judgment was
REVIVED on March 15, 2024, in the original amount of $6,445.00, together with post-
judgment interest from the date of the original judgment until satisfied. The last know address of
the judgment debtors are:

MATTHEW H. SULLIVAN, 2220 Stratford Ave, Westchester, IL 60154
BRIAN J. SULLIVAN, 6500 248th Ave, Salem, WI 53168

       The Judgment was assigned by the original plaintiff and/or its successors to SMS
Financial CH, LLC, whose address is 3707 East Shea Boulevard, Suite 100, Phoenix, Arizona
85028.

                                                     Entered:

                                                     __________________________
                                                     Honorable Robert W. Gettleman
